 

Case 1:19-cv-01959-PAE-SLC Document1 Filed 02/27/19 Page 1 of 21

 

 

UNITED STATES DISTRICT, Court.
SOUTHERN DISTRICT OF N EW YORK

Aeon
=D

 

 

- (To be filled out by er fe

Write the full name of each plaintiff.

-against- , . COMPLAINT

. (Prisoner)
‘tdanda Guzman, ‘Sharik Khan, Kyle Mondesir, .

. Do you want a jury trial?
Wailong Wong, Dorian Dawe » Nathaniel , Yes ONo

Herman Melani e el

 

Terrence Gri fferty . (See Attached)
Write the full name of each defendant. If you cannot fit the
names of all of the defendants in the space provided, please -
write “see attached” in the space above and attach an

- additional sheet of paper with the full list of names. The
names listed above must be identical to those contained i in
Section IV.

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed - .

with the court should therefore not contain: an‘individual’s full social security number or full

birth date; the full name of a person known to be a minor; or a complete financial account

number. A filing may include only: the last four digits of a social security number; the year of

an individual’s birth;-a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

Rev. 5/6/16
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_ UNITED STATES DISTRICT COURT |
| SOUTHERN DISTRICT OF NEW YORK

Dexter Murray,

    

Plaintiff,
- COMPLAINT
Ce SURRY TRIAL
against - a oe DEMANDED |

ee ee oe oe Civ. No,
Wanda Guzman (police), Sharik Khan (police),
Kyle Mondesir. (police}, Wailong Wong (police) °
Dorian Bowe (police), Nathaniel Herman(police) ,
“Willus Murray (Petective), .Guy Mitchell (Judge), _
Curtis Farber (Judge), Melanie Soberal (Prosecutor),
New York City Housing, yycy, Terrence Grifferty ~
(Lawyer), Eric Sokol (Lawyer), Jonathan Weiss
- Psychiatrist), Steven Ceric. (Psychiatrist),
Bellevue: Hospital, New York Gity Police Department,
‘New York County Supreme Court, New. York Division of
Parole, Patricia Middleton (Parole Officer), :
New York City Department of Gorrection, City ‘Campaign
Finance Board, Erica Stephens (Ex-girlfriend), and —
-Kanica Tiffany Howard (Ex-girlfriend), = = 8  -«— -
| - Defendants. .
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1. LEGAL BASIS FOR CLAIM

State below the federal legal basis for your claim, if known. This form is designed primarily for -
prisoners challenging the constitutionality of their conditions of confinement; those claims are

_ often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) orina
“Bivens” action (against federal defendants). _
£2 Violation of my federal constitutional tights 42 U.S.C. §§ 1981 » 1983 , 1985(3)
fd Other: 28 USCA § 1367 "Pendent Jurisdiction’, "18. USCS: §§. 247 & 242"
I. PLAINTIFE INFORMATION a

Each plaintiff must provide the following information. Attach additional pages if necessary.

Dexter K. Murray
First Name Middle Initial Last Name. —

 

K. Dexter Murr .
State any other names (or different forms of your name) you have ever used, including any name
you have used in previously filing a lawsuit.

 

 

4928 ).,349-16-04173 , 349-16-08347-
Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
_and the iD‘number (such as your DIN or NYSID) under which you were held)

Manhattan Detention Complex, 125 White Street, N.V., N.V. 10013

Current Place of Detention

 

Manhattan Detention Complex, 125 White Street, N.Y., N.Y. 10073
institutional Address ,

New York - - , . NAY. - 16013
County, City / . oS : State '_ Zip Code
Ill. PRISONER STATUS

 

Indicate below whether you are a prisoner or other confined person: .

X2 Pretrial detainee

() Civilly committed detainee

C Immigration detainee

[ Convicted and sentenced prisoner
&R Other: "Parole"

 

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IV. DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint oh the defendant.
_ Make sure that the defendants listed below are identical to those listed in the ca Ption. Attach
additional pages as necessary. =

Defendant 1: WANDA

Defendant 2:

‘Defendant 3:

Defendant 4:

 

__GUZMAN

First Name . Last Name_
Housing Police Officer

" CurrentJob Title (or other identifying information)

221 E-123rd Street

12370.
Shiela

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ Current Work Address .
New York N.Y. 10035
County, City — . 7 State Zip Code
SHARIK KHAN. ___. 20727
First Name Last Name Shield #
Current lob Title (or other identifying information)
221 E, 123rd Street !
Current Work Address
New York _N.Y. 10035
‘County, City . “State Zip Code
_Kyle MONDESIR 13466.
First Name — Last Name Shield #
- Housing Police Officer .
Current Job Title (or other identifying information)
59-17 Junction. Blvd.
Current Work Address
- Gorona N.Y. (11388
County, City State” Zip Code
WAILONG WONG 17573
First Name Last Name _ Shield #
Housing Police Officer
Current Job Title (or other identifying information)
221 E. 123rd Street _
Current Work Address
New York N.Y. 10035
County, City State Zip Code

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‘Defendant 5:

we

Defendant 6:

+

Defendant 7:

DefendantiB:

 

DEFENDANT INFORMATION CONTINUATION

te

DORIAN —S_—=S*+DOWE 15586
First Name . _ last Name Shield #

 

Current 10 Title (or other identifying information)

221 E..123rd Street _

 

 

 

_ Current Work Address — yo
New York NY, 10035
County, City . . State oo. Zip Code
NATHANIEL _ “HERMAN 377
FirstName Last Name: oe Shield #

Housing ‘Police. Sergeant
Current Job.Title (or other identifying information)

221 E.. 123rd_ Street \

 

 

 

Current Work Address aS
‘New_York NY, 10035
_ ‘County, City. . State Zip Code
-WILLUS MURRAY » 375 —
FirstName Last Name . » Shield #

Police Detective
Current Job Title (or other identifying information)

120. E. 119th Street

 

 

 

Current Work Address Oo

‘New York my. 20035 .
County, City : State — Zip Code
GUY sx. = Ss MITCHELL

. FirstName Last Name ~ 7" Shield #

SUPREME CouRT. JUDGE

_ Current Job Title (or other identifying information) —

 

 

100 Centre Street. urtroom APR3

-Current Work Address

New York _N.Y. 10035 _
County, City Se . State . Zip Code

page 3+

 
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*

Defendant Information Continuation

~ ete

FARBER

- Defendant 9: CURTIS oe ,
Do - First Name. Last Name | ” Shield #

 

   

Current Work Address

 

 

 

 

—New York NY 0013
i a County, City. . 4 we, State re ’ Zip Code fo
pete neene TO ; MELONEE ee -SOBERAL- ee = a ce nn og
bet ’ - FirstName = _ last Name. a: - Shield #.

Assistant. Dis trict At torney :
Current Job Title (or other identifying information) ~

 

 

 

One. Hogan Place SC

Current Work Address Sn
‘New York, WY. 10013 |
“County, City . oN State - Zip Code

Defendant 14 >_New York City Housing Authority” (“NY CHA")
oo First Name a Last Name i. Shield # -~

478 East Fordham Road | 2nd ‘Floor
Current Job: Title (or other identifying information}

Bronx. __N.Y. 10458
Current Work Address: ma

Bronx __ a N.Y. vos _. _- 10458
- County, City State » ~ ZipCode
Defendeint ‘42; TERRENCE _ Y a
FirstName LastName Shield #
PRIVATE ATTORNEY
. Current Job Title (or other identifying information) —

30 Wall Street. 8th Floor.

 

 

“Current, Work Address i,
New York, = CNY. 100005
County,City ~~ ° °° . State Zip Code oe

page 344

 

 
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. Defendant Information Continuation

~ oe

 

Defendant 13: ERIC SOKOL _
FirstName | Last Name | “Shield #

PRIVATE ATTORNEY.
" Current Job Title (or othér identifying information)

 

 

901 Sheridan Avenue, Suite #2.

 

 

 

os _ Current Work Address . .
wo Bronx, _ _____ N.Y. 10451.
County, City . State ZipCode __
“Defendant 14,JONATHAN WEISS _ a
ae FirstName. Last Name Shield #
PSYCHIATRIST .

 

. Current Job.Title (or other identifying information)

100 Gentre Street Roam 500

 

 

 

 

 

 

 

 

Current Work Address
New York, N.Y. 10013
“County, City . State Zip Code
Defendant 15; STEVEN —_ ‘CIRIC Oo .
First Name — ' Last Name . Shield #
PSYCHIATRIST . .
Current Job Title (or other identifying information):
> 100 Centre Street Room 500 _
Current Work Address oe :
New York, _ N.Y. 10013
County, City a State oe - Zip Code
Defendant “16: ‘BELLEVUE HOSPITAL CENTER
First Name Last Name - ‘' ’ Shield #

ADMINISTRATIVE DEPT... LEGAL DIVISION _

Current Job Title (or other identifying information)

 

 

Current Work Address

New York, N.Y. __ 10016

 

‘County, City CO State _ Zip Code

page 3444

 
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Defendant Information Continuation

ye ot

Defendant 17:_NEW YORK CITY POLICE. DEPARTMENT

 

 

 

 

 

 

 

"Fst Name. e Last Name. ao Shield #
' & SERVE THE COMMUNITY, “LEGAL BUREAU" |
oe ” Current Job Title (or. other identifying information). , oo To
; - So, |
. Current Work Address oo ge
: New York,’ J Nev: __-._ 10038
ce County, City - tT State oe on, ZipCode.
- Defendant 48: “NEW YORK counry SUPREME court . __ -
+ First: Name Last Name . Shield-# oo

“NEW YORK COUNTY COURTHOUSE .
Current Job.Title (or other identifying information) ~

 

 

 

 

' 60. Centre Street
"Current Work Address ee
(NewYork, NY. 10007- 1474
‘County, City. State ZipCode °
Satendeht 19: ‘TINA, =.M. °. STANFORD _ eo
FirstName “=  sdLastName =} Shield # os

_NEW YORK BOARD OF PAROLE _
~ Current Job Title (or other identifying information):

1220 Washington Ave. Bldg. 2.

 

 

 

 

Current Work Address | Lo
Abbaye 4.026 oe .
8% County, City State SCDiptode

Defendant | 20 , PATRICIA” MIDDLETON. oe . Sd
First Name 7 _ LastName =”. Shieid #
PAROLE. OFFICER Oo

 

. Current Job Title (or other identifying information) —

314 West 40th Street

 

 

 

_ Current Work Address |
New York, ONLY. 10008,
—County,City  ~  t - State = Zipfode

 

 

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Defendant _ Informetion Continuation

.. ‘Defendant 21; NEW YORK CITY DEPARTMENT OF ‘CORRECTIONS
: Fist Name vo lastName. Shield
_ Cynthia Brant, Commissioner. : vet
oe _ SeenE be oo Keaing an) —
Pe 7G 229- Astoria Boulevard - P
oN -, Current Work Address a
East Elntiurst, - ey. eo . 11370"
County, Cty State Tp age

_Derengane 99 CITY. CAMPAIGN FINANCE BOARD | — | a
:  PintName last Name ve “Shield ~ —————
Law Department _ eo,
Current Job-Title (or other sen eforton)
£100 Church: Street oA
“Gument WoikAddes oe
“New York, NAYS. 10007
Tun, yt a age
Detenaehs 2B: ERIGA | STEPHENS =e
. First Name “ast Name _ en Shield — —
_. _-Ex-PARAMOUR/GIRLFRIEND fe ee
| Curreiit Job Title (or other identifying information):
50. Paladino ‘Avenue, oe “Apartment #i1- EO
. _ Current Work Address. Pe ONE ee:
.. New York, et ONY. oe 10035 oo
po “County, City oO State Bip ede
“Defendant 24. ; _ KANICA TEEFANY * HOWARD. | ee
Se be First Name oe “LastName ee ~ Shieid TT
Ex-PARAMOUR/GIRLFRIEND _ Be
. Current Job Title (or other identifying information) — 7 — —
60 Paladino Avenue, es Apartment. # 3- D, a
- Current Work address ee —
__New York, ONY 10035. -
“Een yt ge

ge See

 

 

 
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V. | STATEMENT OF CLAIM

Place(s) of occurrence: Wagner Projects, Bellevue, PSA5 Precinct, Court-
_ house, Parole, Rikers Island, 25th Precinct...

Date(s) of occurrence: 2015; 2016; March thru arrest April 6 »_ 2016; July
- BACTS: , 2016 thru the present. Specific dates illustrated
: _ by paragraph; see attached facts.
- State here briefly the FACTS that support your case. Describe what happened, how you were
' harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach
additional pages as necessary. mo

 

" See Attached "

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BACKGROUND

Plaintiff is a New York City denizen who has resided in a
peripatetic circumstance of homelessness on the streets of New York
City and Brooklyn and Manhattan (Bellevue) Men's Shelters; who. suffer
from "Serious Mental Illness ("SMI"), who was recently incarcerated
and charged with his fourth parole violation on a fabricated assault
on a police officer charge, inter alia, and who is on parole on various

charges following an aggregate illegal sentence ¢ of 20% to 41 years.

Plaintiff is a victim of excessive use of force, sexual
harassment/assault by his parole officer, unlawful arrest, false arrest,
false imprisonment, malicious prosecution, prosecutorial misconduct,
and constitutional violations.

FACTS

1.) | Plaintiff's "illegal sentence" on a violent "p" armed

felony" conviction, "to straight five (5) years probation (indictment

# 3557/83), in accordance with New York Criminal Procedure Law § 1.20
. (41), was a violation of Plaintiff's constitutional rights, and was
used to enhance his sentence as a predicate violent felony offender.
Plaintiff continue to serve the unlawful aggregate "first degree
- attempted robbery (Ind. No. 3557/83) sentence, including his present
status of parole, which expires in October 2025. Plaintiff had 20
years parole after his. initial release beginning January 2005, his
first year of release.

2.) Plaintiff was denied mental health treatment fourteen |
(14) years via New York City Division of Parole, albeit, he suffer
from Serious Mental Illness and receive social security insurance
benefits, following twenty-one years consecutive years incarceration,
of which nine (9) years was in solitary confinement.
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3.) New York City Housing Authority (NYCHA) has arbitrarily
and capriciously discriminated against Plaintiff based upon his parole
status and mental health disability, only. taking his 2010E housing
applications into consideration if he also had a "drug problem.”
Plaintiff has not ever tested. positive for any drug use his entire
fourteen (14) years on parole. Go Figure! ‘Plaintiff only began using.
drugs and drinking, so he would not have to be at the mercy of. bum,
low aspiration women like defendants alcoholic Kanica Howard and coke-
head Erica Stephens, who exploited me for my social security benefits
each month (to. stay at their NYCHA apartments) ("I> paid them rent"), and
they usurped my meager food stamp allotment.

4.) Meanwhile female parole officer Patricia Middleton would

" sexually harass me by inappropriately touching, of my person and violating
drug testing procedures, by coming into the bathroom with me, making. me
pull out my’ penis in front! of her and have me urinate in a cup. P.O.
Middleton sought to have rendevouz with me, which. both my ex-girlfriends
defendants Kanica Howard and Erica Stephens felt were an abuse of her -
power, and they suggested P. 0. Middleton was trying to forge a sexual
relationship with me. Plaintiff informed his psychiatrist of his appre-
hension toward his parole officer and his concerns she would violate him.

. 5.) Defendant prosecutor Melanie Soberal coaxed Defendants:
P.O. Wanda Guzman, P.Q. Sharik Khan, P.O. Kyle Mondesir, P.O. Wailong
Wong, P.O. Dorian Dowe and defendant sergeant Nathaniel Herman to file
false police reports, falsely testify at Plaintiff's trial, and charge
him with assault of police officer Guzman; albeit P.O. Guzman told
Emergency Medical Technicians that she sustained her alleged injuries
by a car. Defendant sergeant Herman sought to endorse P. -O. Guzman's
false claim of assault by filing for inline duty injury compensation.
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. 6.) Defendant prosecutor Melanie Soberal also dismissed a
myriad of charges (docket #2016NY022821). which defendant Erica Stephens
falsely claim Plaintiff committed against her, resulting in his arrest
and incarceration, and generating an order of protection, which Erica
Stephens later,, recanted to defendant Soberal. during a proffer of evidence.
Plaintiff provided his "half-price Disability Metro Card" to defendant _
Soberal as exculpatory evidence which she failed to return.

7. ) Prior to the dismissal of Plaintifé’ s original. case
which generated the order of protection, defendant Sobpral conspired
with defendant Guzman and the NYPD to charge Plaintiff with a felony
assault, since she could not convict him on the earlier burglary and
robbery charge he was never indicted for. Defendant Soberal knowingly,
maliciously prosecuted Plaintiff on a felony charge she had to know

he was innocent of based on the exculpatory nature of the medical
evidence in her possession, causing Plaintiff to remain incarcerated for
thirty-one (31) consecutive ‘months.

8.) Defendant Parole attorney Eric Sokol placement of Plain-
tiff on the "k-calendac" without his. permission was cruel. and unusual
punishment, and a violation of plaintiff's constitutional rights to
due: process and equal protection of the law.. Plaintiff's final
revocation hearing. was not completed in 90 days in violation of
Executive Law § 259ri(3)(£)(i). Plaintiff remained on the ‘k-calendar ©
for over two-consecutive years without explanation. Plaintiff's 730
psychiatric evaluation was not determined until five (5) months after

it was ordered by the superior court, in violation of Executive Law
§ 259- i(3)(£)(12).

9.) Defendants psychiatrists Steven Ciric and Jonathan Weiss
violated my constitutional rights to receive a fair and impartial 730
psychiatric evaluation, by falsely claiming I said things which I did
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not say, and being partial to the courts by stating I was exaggerating
my mental illness, in effort to get an alternative to incarceration plea
bargin deal. Plaintiff's rights were violated where there is no record

whatsoever of the psychiatric 730 evaluation. : Plaintiff served nine

(9) years in solitary confinement during his twenty- one (21) consecutive
years of incarceration, | which is why he receives social security insurance
benefits.. Defendants Ciric and Weiss sought to undo thirty (30+) plus
years of mental health treatment, by merely suggesting Plaintiff is
malingering, lest he go postal: and cause death of himself or others.

10.) Defendant Bellevue Medical Hospital and staff falsely
claim Plaintiff was examined at the behest of New York City Police
‘Department (NYPD) alleging he wanted to commit suicide. Plaintiff. was
injured by the NYPD excessive use of force. where defendant P. O. Kyle
Mondesir placed him in an illegal ("banned") — choke-hold, ‘and defendant |
Sharik Khan kneed. him in the groin area; plaintiff also sustained other
injuries which Bellevue failed to acknowledge or address. Plaintiff. was
not taken to the hospital for his injuries until after he was arraigned
on the assault and contempt of court charges, in violation of his
constitutional rights. Plaintiff was only given psychotropic medication
at Bellevue Hospital, and discharged to the NYPD. —

-11.) Defendant Terrence Grifferty and Defendant Judge Guy
Mitchell waived plaintiff's rights to a preliminary hearing in violation
of his statutory rights pursuant to Criminal Procedure Law (CPL) §§ 180.10,
180.60 and 180.70(4), New York City detainees via Defendant: "New York
Supreme Court" through its agents, employees, officers, under the doctrine
of Respondeat Superiori, discriminate against detainees charged with New
York penal code offenses, and are deprived of Preliminary Hearings, which.
are critical. Stages of the proceedings, as well waiving accused rights to
testify before the grand jury. Meanwhile county courts outside the New |
York City area afford citizens these rights. This is discrimination based —
on race, 42 YSC § 1981 and 18 USC §§ 241 and 242.
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12.) Defendant Judge ‘curtis Farber denied me the right to a

Preliminary Hearing in violation of Coleman v. Alabama, 399 U.S. 1, as
it pertain to my statutory right to determine whether there was probable
cause to hold me over for the grand jury. And to allow Defendant
Terrence Grifferty to waive my rights to testify before the grand jury--

with impunity--is tantamount to a six amendment constitutipnal violation, |
in New York county where there aren't many african: american perspective
jurors to select from. Flaintife risked his life exercising his right
to trial in New York county."

13.) Defendant Judge Curtis Farber also violated my constitu-
tional right to represent myself "Pro Se" in violation of United States
Supreme Court precedent in Faretta v. California, 422 U.S. 806, and New
York Court of Appeals precedent People v. McIntyre, 36 N.Y. 2d 10.

Further Judge Farber stated, absent prudence and fortitude, that he was
assigning a counsel who was a ... “perfect fit" for me, and lo and behold |
I am confronted with an african american Lawyer, implying that a caucasian
lawyer would not. be capatible with me because I am african american.

14.) 0 ‘New York City Department of Corrections released and
discharged Plaintiff (Book & Case #349-16- 04137) on July 22, 2016 with-
out his psychotropic drugs, in violation of the settlement between
Brad H and New York City DOCS. Plaintiff who suffer Schizoaffective
disorder ("I hear voices - if I am not medicated") and Bipolar disorder,
and Paranoid Personality disorder, which include Post Traumatic Stress
Disorder ("PTSD"), began to self-medicating: snorting cocaine, drinking
alcohol, smoking K2 and Marijuana, resulting in Plaintiff being arrested
five (5) days after posting bail on docket #2016NY022821.
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15.) Defendant NYCDOCS caused plaintiff to gain sixty (60)
pounds from the poor quality of food and sedentary Lifestyle, resulting
in him developing diabetes. Plaintiff wrote DOCS personnel for reason--
able accommodation for his tingling, painful feet from the "Pataki
sneakers" which does not offer- sufficient support, but was denied his
personal sneakers. Since transferring to Manhattan Detention Complex
("MDG") from Robert N. Davoren Genter C"RNDC") plaintiff received
inadequate mental health services and had to complain via ‘grievances
about not receiving his psychotropic medication, and being: issued the
wrong medication, and beingsprayed with "MK9 Pepper Spray on two occasions,
_marking that plaintiff has been sprayed with MK9 on four (4) occasions
in thirty-one (31) months, thus, subjecting him to cruel and unusual
punishment, although he has not recieved a misbehavior report his entire

two and a half years awaiting trial.

16.) Defendant Detective Willus Murray of the 25th Precinct
unholstered his service weapon at PSA5 housing police station and pointed
it at plaintiff, while he was in the holding cell, and threatened him
to stay away from Defendant Kanica Howard. Defendant Kanica Howard told
plaintiff in a jail-telephone-recorded-conversation she was in a sexual
relationship with Defendant Detective Murray. Defendant Detective Murray
refused to arrest Defendant Erica Stephens, for stealing plaintiff's
identity and obtaining at least two credit cards, in violation of his
constitutional rights. Defendant Erica Stephens disbursed out of plaintiff's
debit account approximately $2,500.00, without his permission.

17.) Defendant Erica Stephens made false allegations against
Plaintiff, getting him arrested so she could steal his identity and personal
property . The personal property stolen was a Hewlett Packard 17 inch
laptop; a samsung Galaxy Note 3 cellphone and approximately $2,300. 00 in
cash. .Defendant Stephens also scratched ("keyed") Plaintiff's vehicle and
repeatedly threatened him with parole violation, if he did not have sex
with her, or give her money to purchase illicit drugs, i.e., cocaine,
erack cocaine, ecstacy, K2 and marijuana.
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18.) Plaintiff's ex-paramour Defendant Kanica Howard provided
false allegations to her new “beau” Defendant Detective Murray, alleging
Plaintiff was evicted from his cousin 's/aunt' s house because he molested
his cousin; Defendant Howard also refused to return Plaintiff’ s Samsung
‘gmart televsion, Roku 3 and Google chromecast Streaming devices, his |
wireless hands-free head set and lied ‘to a known neighborhood gang member
-- Defendant Erica Stephens’ son, asserting plaintiff wanted to kill the _°
gang members ' daughter. Defendant Howard did this in effort to get gang
members to kill Plaintiff, in violation of his civil vights. _

19.) Defendant Kanica Howard also falsely accused Defendant
Erica Stephens of brandishing a knife and threatening her and her daughter _
resulting in Defendant Erica Stephens being arrested for various charges,
including meancing and endangering the welfare of a child. Defendant
| Kanica Howard did this of her own volition, SO she could get plaintiff’ S
ex-paramour Defendant Erica Stephens out the way, while she enjoyed a
_ sexual relationship with plaintiff; so she could set him up and exploit -
his vulnerabilies..

20.) It is ‘this plaintiff's belief that Defendant Kanica Howard
received two (2) U.S. Direct Express debit cards, in plaintiff's name:
mailed to Defendant Erica Stephens house, but forwarded to Defendant
Howard's address via United Parcel Services ("UPS") or Fed Ex. And once
Defendant Howard ‘received the debit/credit cards, she began disbursing
monies/funds | from: the account, all while suggesting to Plaintiff (who was
locked up on Riker's Island from April 6, 2016 to July 22, 2016), that
Defendant Erica Stephens was responsible. Defendant Howard should be
_ charged with identity thief, grand larceny, mail fraud and conspiracy to
commit murder. Plaintiff is in the process of getting an order of pro-
tection for Defendant Kanica Howard.
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21.) Defendant City Campaign Finance Board and New York City
Department of Correction Services conspired to disenfranchise minority
inmates serving parole. Governor Andrew Cuomo on April 2018 signed
, an executive order allowing people on parole the right to vote. Plaintiff
registered to vote October 2018,, as did others similarly situated parolees;
however, when Election Day November 6, 2018 arrived Defendant NYCDOCS
personnel failed to provide absentee ballots for Plaintiff, albeit, other
parole restrained detainees were allowed to vote. This was a denial of
plaintiff's constitutional rights, and was discriminatory in violation
of 18 USC §§ 241 and 242.
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INJURIES:

if you were injured as a result of these actions, describe your injuries and what-medical treatment,
if any, you required and received.

Injury to right wrist & left hand, and left ankle; kicked in groin,
“placed in illegal choke~hold ("strangled") subject to excessive use

 

of force; mental anguish; cruel & unusual punishment; false arrest;

 

false imprisonment; malicious prosecution; civil right violations;

 

threatened with a gun; deliberate indifference to medical needs;

 

denied mental health treatment; denied ‘statutory and constitutional

   
 

VI. RELIEF

State briefly what money damages or other relief you want the court to order.

injunctive Relief; Temporary Restraining Order; Compensatory _
Damages; Nominal Damages; counsel and reprimand defendants and

 

admonish and direct caveats of terminations if accused of any

Luture . impropriety. Plaintiff want to be awarded: "three

 

 

hundred and fifthty thousand dollars ($350,000.00). © The Court

 

 

 

should direct that Defendants Erica Stephens and Defendant

Kanica Howard be required to return plaintiff's personal

 

 

property and the court impose a five (5) year order of protection.

 

 

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Vil. PLAINTIFF'S CERTIFICATION AND WARNINGS -

_By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
_complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by a nonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

I understand that if | file three or more cases while I am a prisoner that are dismissed as
- frivolous, malicious, or for failure to state a claim, Imay be denied in forma pauperis status in
future cases,

Talso understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

] agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal] of my
case. oO

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. if seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

February 23, 2019 OF, WV, /f), bo Yooree

 

 

 

 

 

Dated . Plaintiff's Signature
Dexter ___ K. - . Murray
FirstName — Middle Initial Last Name

    

Prison Address oo
County, City ~~ , State - ~ Zip Code:

 

 

‘Date on which ! am delivering this complaint to prison authorities for mailing: February 23, 2019

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